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17                                 UNITED STATES DISTRICT COURT
18                               NORTHERN DISTRICT OF CALIFORNIA
19
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      EPIC GAMES, INC.,                               Case No. 3:24-CV-06843-JD
21
                                           Plaintiff, JOINT DESIGNATION OF MEDIATOR
22
                            v.
23
      SAMSUNG ELECTRONICS CO. LTD;
24    SAMSUNG ELECTRONICS AMERICA,
      INC.; and GOOGLE LLC,
25
                                        Defendants.
26

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                                     JOINT DESIGNATION OF MEDIATOR
             Case 3:24-cv-06843-JD         Document 58       Filed 02/06/25      Page 2 of 4



 1          Pursuant to the Court’s Minute Entry following the Initial Case Management Conference held
 2   on January 16, 2025 (Dkt. 54), the parties to the above-captioned matter submit this Joint Designation
 3   of a Mediator. The parties have met and conferred and propose that this matter be mediated by the
 4   Honorable Layn R. Phillips (Ret.) of Phillips ADR Enterprises. Judge Phillips has provided the Parties
 5   with his availability in March, April and May 2025. The Parties are working to schedule mediation in
 6   that time frame.
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                                      JOINT DESIGNATION OF MEDIATOR
             Case 3:24-cv-06843-JD        Document 58    Filed 02/06/25     Page 3 of 4



 1   Dated: February 6, 2025
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             Case 3:24-cv-06843-JD           Document 58      Filed 02/06/25      Page 4 of 4



 1                                         E-FILING ATTESTATION
 2          I, Yonatan Even, am the ECF User whose ID and password are being used to file this
 3   document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the signatories
 4   identified above has concurred in this filing.
 5

 6                                                               /s/ Yonatan Even
                                                                     Yonatan Even
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                                       JOINT DESIGNATION OF MEDIATOR
